















NUMBER 13-07-658-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										


LUIS SILVAS LUGO,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.


____________________________________________________________


On Appeal from the 28th District Court


of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Benavides 


Memorandum Opinion Per Curiam



	Appellant, Luis Silvas Lugo, by and through his attorney, has filed a motion to
dismiss his appeal because he no longer desires to prosecute it.  See Tex. R. App. P.
42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

									PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and

filed this 13th day of March, 2008.


